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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

AMERICAN RIVER NUTRITION, LLC, a
Delaware limited liability company,

Plaintiff,
VS.
KYANI, INC., an Idaho corporation,

Defendant.

 

 

Case No.

 

COMPLAINT FOR DAMAGES:

(1) INFRINGEMENT OF THE
PATENT-IN-SUIT (U.S, PATENT
NO. 6,350,453 B1) [35 U.S.C. §271(g)];

DEMAND FOR JURY TRIAL

Plaintiff American River Nutrition, LLC (“ARN”), hereby brings this action against

Defendant Kyani Inc., and alleges as follows:

PARTIES

1. ARN was formed on May 22, 2018, as a Delaware limited liability company

located at 980 South Street, Suffield, CT 06078. ARN is registered to do business in the State of

Massachusetts where it maintains its research and manufacturing facilities located at 333 Venture

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Way, Hadley, MA 01035, ARN is the successor-in-interest to American River Nutrition, Inc
(“ARI”),

2. ARN owns, by a July 1, 2018 assignment from ARI, United States Patent No.
6,350,453 Bi issued by the United States Patent & Trademark Office (“USPTO”) on February
26, 2002, entitled “Tocotrienols and Geranylgeraniol from Bixa Orellana Byproducts.” See .
Exhibit A (the “Patent-in-Suit”), ARN recorded the assignment with the USPTO on September
14, 2018. As addressed at www.AmericanRiverNutrition.com (the “ARN Website”), ARN
specializes in the preparation, offer for sale and sale of tocotrienol nutritional products derived
from “annatto” sourced from the Bixa orellana shrub using the methods claimed in the Patent-in-
Suit (hereinafter the “Patented Processes”), including its DELTA GOLD® line of Vitamin E
supplements (hereinafter the “Patented Product”).

3. Kyani Inc. is an Idaho corporation located at 1070 Riverwalk Drive, Suite 350,
Idaho Falls, ID 83402. Kyani is a food supplement company in the multi-level marketing
industry that sells supplements including Vitamin E extracted from annatto, including the “Kyani
Sunset.”

JURISDICTION AND VENUE

4, This Complaint states a cause of action for patent infringement arising under the
laws of the United States, 35 U.S.C. §§ 271 and 281. The Court has subject-matter jurisdiction
under 28 U.S.C. §§ 1131 and 1138(a).

5. Upon information and belief, Defendant is domiciled in this judicial district and
has committed the acts of infringement in this judicial district and elsewhere in the United States,

6. Venue is proper in this judicial district under 28 U.S.C. § 1400(b).

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ALLEGATIONS FOR ALL CLAIMS
The Patent-in-Suit

7. Tocotrienols are antioxidants believed to be useful in treatment of cardiovascular
disease as well as cancer, Certain types of tocotrienols (specifically delfa-tocotrienol and
gamma-tocotrienol) have been identified as effective suppressants of cholesterol activity.
Likewise, they have been found to help reduce lipoprotein and triglyceride plasma levels.

8. Traditionally, tocopherols and tocotrienols were sourced from vegetable oils, such
as rice bran, soybean, corn, and palm oils. More recently, however, tocotrienols have been
discovered in the seeds of the Bixa orellana shrub, which is native to tropical parts of America
(generally grown between 15 to 20 degrees from the equator). Each source of tocotrienols
generally contains more than a single tocol homolog.

9. Previously, it has been difficult to recover large yields of de/ta-tocotrienol and
gamma-tocotrienol as tocotrienols are largely difficult to separate. Put another way, the isolation
of specific tocotrienols from natural sources has proved challenging. As such, there has been a
need in the art of preparing tocotrienols to allow for higher yields of specific homologs,
specifically delta-tocotrienol and gamma-tocotrienol, for dietary and therapeutic use. Moreover,
this has been especially true with regards to recovery based upon the seeds of the Bixa Orellana
shrub.

10. Patent Application Serial No, 09/577,086 was filed on May 24, 2000, listing Dr.
Barrie Tan and John Foley as co-inventors (the “Application-in-Suit”). The Application-in-Suit

was assigned to ARI.

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11, On February 26, 2002, the USPTO issued the Patent-in-Suit based upon the
Application-in-Suit.

12. Claim 1 of the Patent-in-Suit reads as follows:

A method of forming a tocotrieno! composition, comprising the
step of volatizing a solvent from a byproduct solution of Bixa
orellana seed components to form thereby said tocotrienol
composition,

13, The Patent-in-Suit teaches a process for deriving compositions from a modified
byproduct solution of Bixa Orellana seed components, which is obtained as an oily material after
removing the bulk annatto from aqueous extract or solvent extract of annatto seeds, The Patent-
in-Suit teaches a new method of deriving a tocotrienol composition, which may include
volatizing solvent, from a modified byproduct solution of Bixa orellana seed components. The
patented method improves upon existing technological processes and provides an invention that
efficiently isolates those tocotrienol compounds from a known source material to facilitate
recovery of the tocotrienol compound for commercial use.

14. The Patent-in-Suit remains valid, enforceable and subsisting.

Supply of Tocotrienol to Kyani

15. Beginning in 2009, ARN supplied the DELTAGOLD® line of Vitamin E
supplements to Kydni for use in Kyani’s “Sunset” Vitamin E supplements. As a result of the
ongoing sales to Kyani, Kyani received notice of the Patent-in-Suit and the need to implement
the Patented Processes to obtain tocotrienol at the desirable level for use in Kydni’s “Sunset”
Vitamin E supplements,

16. In January 2012, Dr. Tan, who is a co-inventor of the Patent-in-Suit, entered a

consulting and nondisclosure agreement with Kyani and served on the Kyani medical and

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scientific advisory board, That agreement was in effect through November 2015, Upon
information and belief, as a result of Dr. Tan’s role on Kyani medical and scientific advisory
board, K-yani had notice of the Patent-in-Suit.

17. Upon information and belief, in or about 2016, Kyani also began purchasing
annatto-derived tocotrienol from Beijing Gingko Group Biological Technology Co., Ltd (BGG
China”), Jinke Group USA Inc., d/b/a Beijing Gingko Group North American (“BGG America”)
or a related entity.

18. Kydani’s products, including its Sunset line, include a tocotrienol composition
formed using ARN’s Patented Processes.

CLAIM T

INFRINGEMENT OF THE PATENT-IN-SUIT AGAINST DEFENDANTS
(U.S. PATENT NO. 6,350,453 BL)
[35 U.S.C. § 271(g)]

19, ARN restates and incorporates paragraphs | ~ 18 above of the Complaint as if set
forth herein.

20. This is acclaim for patent infringement arising under the patent laws of the United
States, Title 35 of the United States Code directed to all Defendants.

21.  Kyé&ni uses, offers to sell, imports from China, and sells within the United States a
tocotrienol composition formed by practicing the Patented Processes claimed in the Patent-in-
Suit.

22. Without authority, Kyani, through its agents, employees, and servants, is making,

using, promoting, offering for sale, selling, supplying, and/or importing into the United States

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annatto tocotrienol dietary supplements and/or related compounds (blends) formed by practicing
the method of at least Claim 1 of the Patent-in-Suit in violation of 35 U.S.C. §271(g).

23.  Kyani’s infringement is with knowledge of the Patent-in-Suit and is currently on-
going. The products relating to Kyani’s infringement include the Sunset product which
incorporates annatto tocotrieno! and its blends,

24. In light of Ky&ni’s infringement with knowledge of ARN’s Patent, Kyani’s
actions make this case exceptional,

25.  Kyani’s infringement of the Patent-in-Suit shall continue unless enjoined by this
Court.

26. Because Ky&ni is offering products acquired through a direct competitor with the
products of ARI manufactured using the Patented Processes claimed in the Patent-in-Suit,
Kyani’s infringement of the Patent-in-Suit is irreparably harming ARN.

27. Unless Kyani is enjoined from infringing the Patent-in-Suit, Plaintiff will
continue to suffer irreparable injury for which it has no adequate remedy at law.

28. Kyéni continues to derive and receive advantages, gains, and profits from their
infringement in an amount that is not presently known to ARN.

29. ARN is being irreparably harmed and is entitled to injunctive relief as well as
monetary relief in an amount to be determined at trial,

Wherefore, Plaintiff ARN prays this Honorable Court enter such preliminary and final
orders and judgments as are necessary to provide ARN with the following requested relief:

A. A permanent injunction enjoining Defendant from infringing each of the Patents-

in-Suit;

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B. An award of damages against Defendant under 35 U.S.C, §284 in an amount
adequate to compensate ARN for Defendant’s infringement, but in no event less than a
reasonable royalty for the use made by Defendant of the inventions set forth in the Patents-in-
Suit;

C, An award against Defendant for exemplary damages, attorneys’ fees, and costs
under 35 U.S.C. § 285; and

D, Such other and further relief as this Court deems just and proper.

JURY TRIAL REQUEST
ARN requests a trial by jury as to all matters so triable.
LV ye
DATED THIS J “™_ day of July, 2019.

HAWLEY TROXELL; ENNIS & HAWLEY LLP

  

By

 

Tracy L. Wyight, ISB No. 8060
Attorneys for Plaintiff

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